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                                       Statement of Facts

       On May 14, 2018, the Metropolitan Police Department (“MPD”) Youth and Family

Services Division received notification of a sexual abuse allegation between the Defendant, then-

41-year-old Jimmon Watson, and a then-18-year-old student (herein “Complainant 1”) and

Complainant 1 was a student at that school. At that time, the Defendant was employed at Cesar

Chavez Public Charter School – Parkside Campus (herein “Cesar Chavez”) as the Special

Education Manager.

                              Allegations Related to Complainant 1

       MPD Detective Eric Walsh responded immediately to the school to interview the

reporting person, a school counselor. The reporting person stated that Complainant 1 disclosed

an inappropriate relationship between Complainant 1 and the Defendant. Complainant 1 showed

the reporting person text messages that stated, in part, that the sender loved Complainant 1 and

that the sender wanted to perform sexual acts on Complainant 1, including oral sex. The

reporting person asked Complainant 1 who sent the messages, and Complainant 1 showed the

reporting person the name “Watson” as the sender. The reporting person then confirmed that the

sender of the number for that text message was the Defendant, Jimmon Watson’s, phone number.

       Det. Walsh then interviewed Complainant 1. Complainant 1 stated that he officially met

the Defendant in his 11th grade school year, 2016-2017. Complainant 1 stated that he had often

seen the Defendant around school in earlier grades, but Complaint 1 began receiving rides from

the Defendant to and from football practice along with other students during Complainant 1’s

11th grade year. During this time, Complainant 1 and the Defendant began texting one another,

and the Defendant began giving Complainant 1 “hints” that the Defendant was sexually

interested in him. The Defendant began providing rides to and from school and to and from


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work for Complainant 1. Complainant 1 joined a school mentoring program sponsored by the

Defendant, known as the “Brother to Brother” program. The Defendant also provided

Complainant 1 money, clothing, shoes, and, on one occasion the Defendant purchased marijuana

for Complainant 1. Later, the Defendant began expressing to Complainant 1 that he loved him.

       During the summer of 2017, when Complainant 1 was 17 years old, the Defendant

attempted to kiss Complainant 1 on his lips. Defendant was only successful on three occasions,

and the first time the Defendant kissed him, the Defendant’s tongue entered Complainant 1’s

mouth and touched his tongue. Complainant 1 pushed the Defendant away from him.

       On several occasions when Complainant 1 was 17 years old, the Defendant spoke to

Complainant 1 and texted him about engaging in sexual intercourse. The Defendant even

offered Complainant 1 $100 to spend with the Defendant on Complainant 1’s birthday weekend.

Complainant 1 accompanied Defendant to the Defendant’s house, and Defendant attempted to

have Complainant 1 lay in bed with him. However, Complainant 1 declined this request, and the

Defendant then provided Complainant 1 with marijuana, which Complainant 1 smoked on the

balcony of Defendant’s apartment.

       After interviewing Complainant 1, Det. Walsh conducted a non-custodial interview with

the Defendant at the MPD First District station. Defendant denied ever touching, attempting to

touch, or kissing Complainant 1. He stated that he had provided Complainant 1 money for food,

but only approximately $15. Defendant later admitted to providing Complainant 1 cash on

several occasions and to transferring money to Complainant 1 through PayPal accounts.

Defendant denied sending any inappropriate text messages or Facebook messages to

Complainant 1. When confronted with a screenshot of a text message in which Defendant told

Complainant 1, “Well I want you to make love to me. Outside of sucking your dick of course,”



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the Defendant said that someone must have spoofed his phone number to send it. Defendant then

requested a lawyer, so the interview was terminated.

       Subsequently, Complainant 1 permitted Det. Walsh to download a copy of Complainant

1’s Facebook Messenger conversation history containing his messages with the Defendant. The

messages dated back to July 2017, when Complainant 1 was 17-years-old. Excerpts of the

Facebook Messenger exchange are included below. For example, on December 1, 2017 at

9:23pm Complainant 1 discussed needing things for college and paying a “car note.” The

following exchange occurred:

               Defendant: Monthly. Not really a long shot. A lot to think about though. When
               you get into vehicles and property those are things that you share with a person
               that you are intimate (sex and intimacy are two different things) meaning a person
               that I have experienced love making (in any form) with.

               Complainant 1: Oh

               Defendant: Not that I want you to fuck me or some crazy shit. I’m just saying lol.1
               Relax

               Complainant 1: no I get it

               Complainant 1: im trying to get all I need for college now so that when time
               comes I won’t be struggling

               Complainant 1: but if I dont have a car km not going to college

               Defendant: I understand as well. You should know that all I wanted was to be
               with you and occasionally suck your 🍆2 and you would have gotten anything you
               wanted. Lol. Sorry #truth.

               Complainant 1: ik,not anymore

               Defendant: I didn’t say that. It just takes time to work back up to that space

               Complainant 1: ik

1
 All text abbreviations and typographical errors in quoted text language are original.
2
 Your affiant is aware from training and experience that the eggplant emoji is used to refer to a
penis.
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              Defendant: I know you’re not comfortable yet with me doing that to you. So until
              you are I guess I’ll just fantasize about it. Pics are always welcome too. Lol

              Complainant 1: look, i love you and respect you and i really need some things
              right now, im not being taken care of properly by my mom so i kinda need u to
              help out with that, i need clothes and stuff , would u believe i got the same clothes
              since the 9th grade only thing that changes is my uniforms”

              Complainant 1: [Complainant sent the Defendant an image depicting his
              flaccid penis.]

              Defendant: Wow. I love you too and I’m sorry and
              wOOOOOOWWWWWWWWE!!! And I’ll will try to help you as much as I can

              Complainant 1: thank you

              Complainant 1: I aint never shave

              Defendant: Lol. I don’t think I want you to shave. I like the hair and it’s huge!!!!

       On December 6, 2017 at 7:14pm, the Defendant again engaged in a Facebook Messenger

exchange with Complainant 1. The following is an excerpt of that exchange:

              Defendant: Can you send me some pics babe? I’m horny.

              Complainant 1: yea give me a sec . . . . imma take a pic before I shave and after.

              Defendant: Okay babe.

              Complainant 1: [Complainant sent the Defendant an image depicting his erect
              penis to the Defendant]

              Defendant: Dayyyyyyyyyyyyyuuuuuuuuuummmmmmmmmmmmmmmmmm

              Complainant 1: lo

              Defendant: That’s kinda scary [Complainant 1]. Lol

              [. . .]

              Defendant: Lol I knew your dick was huge but didn’t know it was monster




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       At 9:28pm, in response to a question from Complainant 1 about how the Defendant

would take care of him, the Defendant responded, “I still have a lawsuit as soon as therapy is

finished and if you are good to me and show me that you love me, I’ll do my best to Give you

everything you want and need. . . . I have two more weeks and hopefully the therapist writes me

out so they can begin the lawsuit. I’m not asking for much other than for us to be together for

real and to suck your dick from time to time. Lmao.” Complainant 1 responded “I gotta work

myself to tha[t] just don’t push me.”

       On December 14, 2017 at 12:41am, the Defendant again engaged in a Facebook

Messenger exchange with Complainant 1. The exchange was as follows:

               Complainant 1: u tired?

               Defendant: Slightly. I’m a little tired and horny

               Complainant 1: i need a shower so i can shave again.

               Defendant: I think I like it with your hair idk. Haven’t seen it shaved

               Complainant 1: [Complainant 1 sent an image depicting his erect penis to the
               Defendant]

               Complainant 1: That’s it shaved

               Defendant: Your dick looks Scary AF. lol

       On December 16, 2017 at 12:10am, the Defendant again engaged in a Facebook

Messaging exchange with Complainant 1. The exchange was as follows:

               Defendant: “Here babe[.]”

               Complainant 1: sending

               Complainant 1: [Complainant 1 sent an image depicting his erect penis to the
               Defendant]




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              Defendant: Damn!!!!!!!!!!!!!!!!! Hope you like your underwear3

              Defendant: I want to see you nutt

              Complainant 1: gonna be a while :)

              Defendant: Lol that’s okay. I want to see it.

              Complainant 1: one day

              Defendant: You promise babe?

              Complainant 1: Yes I do

       On December 20, 2017 at 10:42pm, the Defendant again engaged in a Facebook

Messenger exchange with Complainant 1. The exchange was as follows:

              Defendant: Okay babe. If you remember please make my video tonight. I’m over

              here dying. Lol

              Complainant 1: ik

              Defendant: Sorry babe. Not trying to stress you

[58 minutes pass]

              Defendant: I love you and goodnight

              Complainant 1: not sleep

              Complainant 1: didnt 4get

              Defendant: Okay babe. I’m just laying here


3
 A messaging exchange dated December 20 explained that the defendant provided Complainant
1 with underwear:

              Defendant: On another note…can’t wait to see you in those underwear that I
       brought you

              Complainant 1: they tight

              Defendant: Really? They should be fitted. Tight on your balls? Or tight as in
              showing all of your dick?
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               Complainant 1: everybody still in here I didnt forget.

               Defendant: I was just looking at rings. You wouldn’t happen to know what size
               ring you wear?

               Complainant 1: no

               Defendant: K

        Nearly 3 hours pass, with the exchange resuming at 3:44 am:

               Defendant: Waited up to see if you were going to reach back out but you forgot

               me…smh

               Defendant: Night

        At 10:50am, Complainant 1 responded, “im so sorry, I fell asleep, they wouldny leave.”

        On December 22, 2017 at 7:39 pm, the Defendant and Complainant 1 discussed via

Facebook Messenger Complainant 1’s approaching 18th birthday. The Defendant stated he

“can’t wait to spend the night with” Complainant 1.

        On December 23, 2017 at 12:11am, the Defendant asked Complainant 1 via Facebook

Messenger whether they will wait for Complainant 1’s birthday to “make love” or whether they

will do so when the Defendant returns from his holiday trip on December 27. Complainant 1

responded, “[O]n my birthday or the day after.” The following exchange ensued shortly

thereafter:

               Defendant: Can you send some pics or a video babe? I’m horny AF

               Complainant 1: yea im boutta shower soon anywau

               Complainant 1: [Complainant sent Defendant a photo of a family member in his
               room, implying that Complainant 1 could not take a photo at that time] I hate
               him.

               Defendant: Okay. Lol lmao.

               Complainant 1: boutta shower


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               Defendant: I’m over here looking at phone like my life depended on it.

               Complainant 1: ugh remind me to cone back to the bathroom

               Defendant: K

               Defendant: :)

               Complainant 1: [Complainant 1 sent Defendant multiple images depicting his bare
               chest and face]

               Defendant: U ok?

               Complainant 1: yea

               Defendant: Okay. I was waiting for my pics and only got pics of your face and

               chest.

               Complainant 1: I did sebd a pic

               Defendant: I didn’t get it babe

               Defendant: [Defendant sent Complainant 1 a “screenshot” of the photos of the
               Complainant 1’s chest that he received]

               Complainant 1: i promise u i did

               Defendant: I believe you

               Complainant 1: i can send you a quick head pic thi

               Complainant 1: [Complainant sent an image depicting the tip (or “head”) of
               his penis to the Defendant]

       On December 24, 2017 at 2:19am, Complainant 1 sent an image depicting his erect penis

to the Defendant. The Defendant responded, “Dayum babe” and informed Complainant 1 that he

was still in South Florida.

       On December 27, 2017 at 1:38pm Complainant 1 again engaged in a Facebook

Messenger exchange with the Defendant. The exchange was as follows:

               Complainant 1: I gotta picture for u.


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                  Defendant: Do you babe?

                  Complainant 1: I do

                  Defendant: I’m excited.

                  Complainant 1: wanna see?

                  Defendant: Yes I do babe

                  Complainant 1: [Complainant sent an image depicting his ejaculating penis to
                  the Defendant]

           After 11 minutes pass, Defendant messaged Complainant 1 that he had lost the signal

while his plane landed. He then stated, “Just seeing your picture. OMG. I wanna lick it off. Lol.”

           At the time of each of the Facebook Messenger exchanges above, the Defendant was 40

years-old and Complainant 1 was 17-years-old. Complainant 1 stated that he took the images of

himself described above and sent them to the Defendant because the Defendant would “buy me

stuff.”4

                                  Allegations Related to Complainant 2

           Det. Walsh interviewed 19-year-old Complainant 2 in May 2018 and again in August

2018. Complainant 2 confirmed that he graduated from Cesar Chavez at the end of last school

year (approximately June of 2017) and attended the school throughout high school. Complainant

2 stated that he has known the Defendant since approximately December 2016, and had

participated in the Defendant’s Brother-to-Brother mentorship group at the school. Complainant

2 disclosed that his relationship with Defendant started when the two engaged in group texts and

began going out with a number of other students. Eventually, however, Defendant began

spending one-on-one time with Complainant 2.



4
 For example, on one occasion, the defendant purchased an anthrax reticulated python snake for Complainant 1 in
exchange for Complainant 1 sending an image of Complainant 1’s penis.

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        On one occasion, when Complainant 2 was still a student at Cesar Chavez, he went to the

Defendant’s office for help with a history project. After completing the project, the Defendant

asked Complainant 2 to watch a video. The Defendant then showed Complainant 2 a video, the

first minute of which consisted of sports. However, after the sports images, the video abruptly

switched to a video of an unknown female “deep throating” a pickle. The Defendant paused the

video and asked Complainant 2 if he had ever done something similar. Complainant 2 responded

“Huh?” and replied that he did not eat pickles. Later, upon reflection, Complainant 2 realized

the Defendant’s sexual innuendo in the question and showing Complainant 2 the video.

        Complainant 2 also recalled text messages where the Defendant had asked Complainant 2

about his penis, stating, “How’s your little friend?” Defendant also showed male students in the

Brother-to-Brother mentoring group the movie “Brokeback Mountain.” Defendant paused the

movie during sexual activity between two male characters to ask the students if they had ever

tried those activities.

        In April 2017, Complainant 2 went with the Defendant over Spring Break to the opening

of a Six Flags amusement park. Complainant 2 expected other students to be present on the Six

Flags trip; however, none arrived and Complainant 2 spent the day alone with the Defendant at

the park. After leaving Six Flags, they went back to the Defendant’s house. Once at Defendant’s

house in Alexandria, Virginia, Complainant 2 and the Defendant both fell asleep in the

Defendant’s bed. Complainant 2 woke up and the defendant was sucking on Complainant 2’s

penis. This lasted approximately 3–4 minutes, after which the Defendant stopped and took

Complainant 2 home.

        Complainant 2 reported that the Defendant engaged in the same conduct, sucking on

Complainant 2’s penis, approximately two or three more times that school year, always at the



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Defendant’s house. More recently, Complainant 2 reported that approximately 2–3 weeks prior

to speaking with Det. Walsh, Complainant 2 visited the Defendant at his school and the

Defendant attempted to suck Complainant 2’s penis in Defendant’s office during the school day,

but Complainant 2 declined. Complainant 2 was 18-year-old at the time of the incident.

                              Allegations Related to Complainant 3

       During Det. Walsh’s voluntary interview with the Defendant, the Defendant provided his

cellular telephone to detectives and signed a consent authorizing a search of its contents. An

MPD detective forensically extracted the data contained on the device, which the defendant had

been using for approximately three weeks prior. While reviewing the data and information

extracted from the Defendant’s cellular phone, Det. Walsh observed two conversations between

May 15th and May 16th that were sexual in nature and which based upon their content, Det.

Walsh believed the Defendant had had with current students at Cesar Chavez other than

Complainant 1. The phone numbers were saved only with the first initial and last name of two

then-minors, referred to herein as Complainant 2 and Complainant 3. Both Complainant 2 and

Complainant 3 were students at Cesar Chavez last year, with Complainant 2 graduating in June

2017, and Complainant 3 having left Cesar Chavez and currently attending 10th grade at another

school in Washington, D.C.

       Det. Walsh observed a text message conversation between the Defendant and then-16-

year-old Complainant 3, beginning with time-stamps on April 15, 2018 and ending on May 12,

2018. Specifically, Det. Walsh observed a messaging exchange between the Defendant and

Complainant 3 on April 22, 2018 as follows:




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     Complainant 3: [Complainant 3 sent an image depicting his penis to the
     Defendant]

     Defendant: Damn. Miss that

     Defendant: [clicked an icon indicating he “loved” the image]

     Defendant: What are you doing?

     Complainant 3: nun

     Defendant: [Defendant sent Complainant 3 an image depicting the Defendant’s
     naked anal, perianal, and buttocks area]

     Complainant 3: Wow

     Defendant: What?

     Defendant? Wyd

     Complainant 3: Nun bout to get some ass

     Complainant 3: Cuz yu not letting me hit

     Defendant: What? You know this is yours.

     Defendant: You can hit it anytime you want

     Complainant 3: Tomorrow

     Defendant: What time?

     Defendant: I’ll be at the school late tomorrow

     Complainant 3: Idk

     Defendant: I want you bad

     Defendant: Miss you

     Complainant 3: Fr

     Defendant: Yes

     Complainant 3: Sure yu do



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                Defendant: I do. I want Suck your dick now

                Complainant 3: Ok

                Defendant: Can I come pick you up and suck Your dick in my car?

       Between April 24 and 25, 2018, via text message, the Defendant agreed to send

Complainant 3 money to settle a bet, and the Defendant and Complainant 3 discussed their

relationship:

                Defendant: Well the first time we did it you kissed me and said you loved me but
                I don’t think you do anymore [. . . ]

                Complainant 3: I don’t remember that part

                Defendant: You did. You whispered it. You were behind me and I turned around
                you kissed my lips and said “luh u”

                Complainant 3: Oh

                Defendant: Well even if you don’t love me I love you and always will. Want to be
                with you but it’s cool. Gn

       Between May 1-2, 2018, Complainant 3 and the Defendant discussed Complainant 3

needing $10:

                Defendant: I understand. At the moment I am broke paid my bills

                Complainant 3: I’ll give it back by sucking ur dick on ree plz

                Complainant 3: Read what I said

                Complainant 3: Plz daddy

                Defendant: Really?

                Complainant 3: Yes can yu plz send it now plz

                Defendant: I do want you to suck my dick and suck yours too. But what I want
                from you is to be with you. We be together

                Complainant 3: Yes if yu plz cash app me $10 on REE we can



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     Defendant: [Complainant 3]. Please don’t play with me. I’m serious

     Complainant 3: Me too send it

     Complainant 3: Thanks dad

     Defendant: You’re welcome.

     Defendant: And now you can tell me the truth. Are you mine?

     Complainant 3: Yes

     Defendant: …I hear you

     Complainant 3: Fr

     Defendant: So we’re dating? You’re my dude and I’m yours?

     Complainant 3: Yea

     Defendant: So when am I seeing you?

     Complainant 3: Idk

     Defendant: So why did you say yes to being with me?

     Complainant 3: You don’t be around and after school I have football practice

     Defendant: I’m not saying that as you don’t know when you’re gonna see me so
     why did you say yes. I’m asking what made you say yes? And I get to work at 7
     am. So you could come through before you go to school
     [...]

     Complainant 3: tonight at 9;30

     Complainant 3: 9:30

     Defendant: Address?

     Complainant 3: [redacted address in Washington, DC] me don’t pull up at my hse
     just tell me when yu bout to pull up and I can leave out

     Defendant: Of course not. I ain’t stupid

     Complainant 3: Or yu can cum right now



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                 Defendant: Can’t um now. In the middle of doing some work

                 Complainant 3: Oh rd bet

           On May 4, 2018, Complainant 3 and the Defendant had a messaging exchange in which

the Defendant indicated that he was on his way to Complainant 3’s house, but delayed due to

traffic:

                 Defendant: I’m horny AF

                 Complainant 3: Come pull up

                 Defendant: Like I wanna feel you inside of me. Want you to nutt in it. Where we
                 gonna do it at?

                 Defendant: On the phone with my son

                 Complainant 3: We can do it at the park no one be at

                 Defendant: You gonna nut in it? I hvaen’t had sex since we did it

                 Defendant: So it’s tight

                 Complainant 3: Rd come on

                 Complainant 3: I want some good as head

                 Defendant: I got you. I wanna feel you too.

                 [...]

                 Defendant: Okay babe. I’m coming. You gotta take your time because it’s been a
                 minute.

                 Complainant 3: Rd

                 Complainant 3: How far r yu and did yu bring a rubber we don’t have to use one
                 but if yu have one we can if yu want to

                 Defendant: I am stuck in traffic. I didn’t bring a rubber. I trust you and you’re the
                 only person that I have been with

                 Complainant 3: Rd and Tru



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              Complainant 3: Way

              Defendant: Still stuck in traffic. Car accident.

              Defendant: Not too far from nannie Hellen burrows

              Complainant 3: Damn I’m horny I don’t want to beat my dick cuz u bout to come
              but I can’t hold it for to long

              Defendant: Me too and this is killing me

       The Defendant never arrived to pick up Complainant 3, and later messaged him, “Just got

back home about to jack off since I can’t have you.”

       On May 6, 2018, the Defendant and Complainant 3 again engaged in a text messaging

exchange about meeting. The Defendant told Complainant 3, “Me Too. Miss hugging you[.]”

and Complainant 3 responded, “It went from hugging to yu sucking my DICK[.]” The exchange

then continued:

              Defendant: Yes and I loved sucking it.

              Complainant 3: Fr    (Short for “for real,” in your affiant’s experience)

              Complainant 3: Come get it

              Complainant 3: Now

              Defendant: Can’t now. Don’t have my car. My cousin has it.

              Defendant: I want it so bad though

              Complainant 3: Oh damn

              Defendant: I want you so bad

              Complainant 3: Cum get next week

              [. . . ]

              Defendant: I am going in to work early tomorrow. You can come by the office
              and visit before you go to school.



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     Complainant 3: I wake up [a]t 8:00…School starts at 8:30 and the school is in
     walking distance and it take me like 5 min to get there

     Defendant: So come see me and I’ll drop you back off at home

     Complainant 3: Ain’t no time

     Complainant 3: I’m in the football team if I come lay or almost late they gonna
     DICK SUCK ME

     Defendant: Ok

     Complainant 3: Fr

     Defendant: So what if I come pick you up at 6:30 and we go to my office? We
     will be finished long before you have to be up

     Complainant 3: I wake up to 8:00

     Defendant: I’m saying you can’t get up early for me?

     Defendant: It’s one time

     Complainant 3: I don’t like getting up

     Defendant: Or what about if I come see you later tonight?

     Complainant 3: Rd

     Defendant: You sure?

     Complainant 3: Yea cum now

     Defendant: He isn’t bay yet with the car.

     Complainant 3: Come on

     Defendant: As soon as he gets here I can come

     Defendant: Send me a pic of.your dick

     Complainant 3: As soon as who get there

     Defendant: My cousin has my car

     Complainant 3: Rd


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               Defendant: As soon as he gets here with it

               Complainant 3: What yu gonna to me when he get here

               Defendant: Suck your dick. Send me a pic

               Complainant 3: I don’t send pics no more

               Complainant 3: Come see it in person

               Defendant: Wow. Ok

               Complainant 3: Fr

               Defendant: K

       On May 16, 2018, Det. Walsh interviewed Complainant 3 at his high school in a private

room. Complainant 3 confirmed that he attended Cesar Chavez last year, his 9th grade school

year. Complainant 3 reported that he first met the Defendant in the hallway of the school because

Complainant 3 was involved in an argument with another student. Complainant 3 believed that

this occurred sometime before Christmas in 2016, when Complainant 3 was 14-years-old. The

Defendant intervened in the argument, calmed Complainant 3 down in his office and advised

him that he could come back whenever he needed to come back.

       Complainant 3 disclosed that the next day he went to the Defendant’s office again and

they began talking. Complainant 3 stated they were just “talking, talking, talking . . . and then

after that he didn’t let me leave” and continued talking. When Complainant 3 finally left on that

date, and every time he left the Defendant’s office after that date, the Defendant gave

Complainant 3 a hug in spite of Complainant 3 not wanting a hug.

       On a date approximately three days after the argument in the hallway, Complainant 3

again went to the Defendant’s office. Defendant grabbed Complainant 3’s penis outside of his




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clothing and then pulled his pants down, before performing sucking on Complainant 3’s penis.

After this incident, Complainant 3 stated that he stopped going around the Defendant.5

       Det. Walsh showed Complainant 3 images that were in the text message thread extracted

from the Defendant’s cell phone. Complainant 3 confirmed that he was depicted in an image

located on Defendant’s phone of Complainant 3 holding his penis to display it for the picture.

Complainant 3 stated that he had taken the image of himself and sent it to the Defendant at the

request of the Defendant. Complainant 3 stated that the Defendant made Complainant 3 send the

picture of his penis by threatening Complainant 3 that if he did not send an image, “if I see you,

something will happen basically.”

       Complainant 3 acknowledged to Det. Walsh that he has messaged the Defendant and

asked for and received money from him on occasion. He also said that the Defendant threatened

that something bad would happen if Complainant 3 told anybody about what had occurred.

       During the course of the investigation, from August 8, 2018 through February 2019,

Complainant 3 participated in a series of subsequent, lengthier interviews in which he provided

additional, more detailed information about the sexual assaults by the Defendant. During one

such interview, Complainant 3 advised that he was “glad” the Defendant was locked up and “not

doing it to anyone else.” Complainant 3 also advised that he does not like talking to anyone

about what occurred between him and the Defendant but does “want him to be locked up for a

long time.”




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  Det. Walsh observed text messages in the Defendant’s phone between the Defendant and
Complainant 3 that would suggest that Defendant had been anally penetrated by Complainant 3,
but Complainant 3 did not report in his initial interview that such sex acts occurred. As set forth
below, when interviewed in more detail during the course of the investigation, Complainant 3 did
report that the defendant had on one occasion grabbed Complainant 3’s penis and inserted it into
Defendant’s anus.
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       Complainant 3 reiterated in subsequent interviews that he first met the Defendant after he

had been involved in an argument with another student at school in the hallway and the

Defendant attempted to calm Complainant 3 down by taking him to the Defendant’s office. Upon

entering the Defendant’s office, the Defendant hugged Complainant 3. Complainant 3 backed up,

away from the hug but the Defendant kept hugging him. Complainant 3 managed to pull away

from the Defendant’s hug and exit the Defendant’s office.

       The next time Complainant 3 got into trouble at the school, he was again sent to the

Defendant’s office. This time, the Defendant pulled Complainant 3’s pants down, got down on

his knees in front of Complainant 3 and sucked Complainant 3’s penis. Complainant 3 pushed

the Defendant off him, punched him in the head, pulled up his pants, and ran out of the office.

       On a third occasion, shortly thereafter on a day that Complainant 3 was going on a field

trip to a museum, Complainant 3 again had to go to the Defendant’s office to pick up his

backpack, which had been taken to Defendant’s office by another student. When Complainant 3

got to the office, the Defendant was inside. When Complainant 3 bent over to pick his bag up

off the ground, Defendant reached out and grabbed Complainant 3’s buttocks over Complainant

3’s pants. Complainant 3 fled the office.

       On a fourth occasion, Complainant 3 again was sent to the Defendant’s office having

gotten into another argument with a student in the hallway. When he got to the office, the

Defendant closed the door and stood between Complainant 3 and the door. The Defendant

pulled down his own pants, and then pulled down Complainant 3’s pants. The Defendant turned

around, facing the door, licked his hand, and used his hand to wet his anus. The Defendant then

grabbed Complainant 3’s penis with his hand and inserted it into Defendant’s anus. Defendant

stopped his activity when a knock occurred on the door. Complainant 3 pulled up his pants to



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leave. As he did so, Defendant went behind his desk and retrieved a spray bottle of air freshener,

which he began to spray in the room. Complainant 3 opened the door to flee, and a female

student was standing outside the door. Complainant 3 went out the door and to a bathroom

where he washed his genital area with a towel and soap in the sink.

       Complainant 3 did not tell anyone what happened because he was afraid other students at

the school would ridicule him. Complainant 3 also disclosed during the course of the

investigation that he did not initially tell Det. Walsh the entirety of the abuse because Det. Walsh

had arrived unexpectedly at school, and Complainant 3 was reluctant to speak to the police,

fearing he was in trouble. Complainant 3 also stated that he was deeply humiliated to disclose the

entirety of what the Defendant had done, none of which Complainant 3 wanted to occur.

       Complainant 3 again disclosed that the Defendant gave him cash, purchased food for

him, and paid for Complainant 3’s school field trip(s) for no reason.

       During the same time that the above was occurring, the Defendant began texting

Complainant 3. Complainant 3 was not sure how the Defendant obtained his cell phone number,

but suspected he obtained it from school records. Some of the text messages from the Defendant

to Complainant 3 included texts that said “I love you” and “call me.” Other portions of the

messaging exchanges between Complainant 3 and the Defendant are set forth above.

       After the Defendant began texting Complainant 3, he also began calling Complainant 3

over the phone and using the FaceTime application. At one point, the Defendant called

Complainant 3 on his cell phone while Complainant 3 was home in the District of Columbia and

asked Complainant 3 to send a picture of himself to the Defendant. The Defendant also used

FaceTime to communicate with Complainant 3 while Complainant 3 was home in the District of

Columbia, and asked several times for Complainant 3 to send him a picture of his penis.



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Complainant 3 declined and hung up the FaceTime call. The Defendant called back on

FaceTime and told Complainant 3 the he would tell Complainant 3’s mother and Complainant

3’s friends what had happened if Complainant 3 did not send the Defendant picture of his penis.

The Defendant also told Complainant 3, “I know where you live” and “I know your mother and

brother,” which Complainant 3 perceived as a threat. As a result, Complainant 3 went into the

bathroom at his home and, as the Defendant instructed on FaceTime, stood in front of a mirror

and took a picture of his own penis, which he sent to the Defendant via text message. This is the

image the Complainant identified of himself that was forensically extracted from Defendant’s

cellular telephone as described above. Defendant also sent to Complainant 3 over text message

an image of his own anus, as described above, which image was also forensically extracted from

Defendant’s cellular telephone and identified by Complainant 3.

       At the end of the school year, Complainant 3 was so upset by what the Defendant had

done that he transferred to another school district in the District of Columbia. Complainant 3

was aware that there were other students with whom the Defendant had behaved

“inappropriately” and advised investigators that he was aware the Defendant maintained in his

home a bedroom for one student at Cesar Chavez.

       During all of the above-described physical and sexual conduct with respect to

Complainant 3, the Defendant was 40-years-old and Complainant 3 was 14-years-old. At the

time that Complainant 3, at Defendant’s direction, created and sent the photograph depicting his

penis to the Defendant, the Defendant was 41-years-old and Complainant 3 was 16-years-old.

                        Defendant’s May 16, 2018 Arrest and Interview

       On May 16, 2018 at approximately 1:05 pm, Det. Walsh arrested the Defendant at his

home. Upon arriving at the Sixth District, the Defendant expressed that he wished to participate



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in another interview with Det. Walsh even though he ended the last interview by requesting a

lawyer.

          The Defendant was taken to the Sixth District Detective’s Office interview room where

he was advised of his Miranda rights, which he waived. The Defendant continued to state that he

was not involved with Complainant 1 sexually, and had never attempted to kiss him, or touch

him inappropriately. The Defendant did confirm that he provided Complainant 1 money on

several occasions, bought him clothing and shoes, and provided him with rides on a regular

basis. The Defendant said that he does not recall several of the text messages that were sent, to

include those about how he loves Complainant 1 and how he wanted to suck his penis.

          The Defendant acknowledged that he began a sexual relationship with Complainant 2

after Complainant 2 graduated from high school, but denied that there was anything sexual that

occurred while Complainant 2 was still enrolled at Cesar Chavez.

          The Defendant admitted that he engaged in sexual conduct with Complainant 3 during

Complainant 3’s 9th grade year at Cesar Chavez. The Defendant claimed that Complainant 3

came to Defendant’s office and began to hug him, which led to Complainant 3 “grinding his

hips” on the Defendant. The Defendant said that he asked what Complainant 3 was doing, and

Complainant 3 said that he turned him on. The Defendant advised that Complainant 3

unbuttoned Defendant’s pants and his own pants and began to masturbate both of them at the

same time. The Defendant reported that Complainant 3 pushed him over his desk and attempted

to “enter him” from behind but was unable to do so, so the Defendant stopped him. The

Defendant later described this as Complainant 3 attempting to place his penis in his “butt.” The

Defendant said that he does not recall if he performed oral sex on Complainant 3 or if

Complainant 3 performed oral sex on him during this interaction.



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                                           ______________________________
                                           Peter Kaupp, Special Agent
                                           Federal Bureau of Investigation


Sworn and subscribed before me
this ____ day of February, 2019




________________________________
Honorable G. Michael Harvey
United States Magistrate Judge




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